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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


        UNITED STATES OF AMERICA          Ron. Jose L. Linares
                                          Crim. No. 09-592 (JLL)
               V.
                                                CONUNUANCE QRDER
        MYFIT DIKA




               5 matter having come before the Court on the joint
               Thi

         application of Paul J. Fishman, United States Attorney for the

         District of New Jersey (by David E. Malagoid, Assistant U.S.

         Attorney), and defendant Myf it Dika (by Peter Wi.llis, Esq.) for

         an order granting a continuance of the proceedings in the above-

         captioned matter, and the defendant being aware he has the right

         to have the matter brought to trial within 70 days of the date of

         the indictment pursuant to Title 15 of the United States Code,

         Section 3161(c) (1), and as the defendant has requested and

         consented to such a continuance, and for good and sufficient

         cause shown,

               IT IS THE FINDING OF THIS COURT that this action should be

         continued for the following reasons:

                     i.   Plea negotiations regarding a possible disposition

                          are currently in progress, and both the United

                          States and the defendant desire additional time to

                          meet and confer regarding a disposition, which

                          would render trial of this matter unnecessary and

                          save judicial resources;
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                  ii.    Defendant has consented to and requested the

                         aforenent ioned continuance;

                  iii. This case involves a large volume of discovery

                         which the defendant is in the process of ordering

                         from a private copy service;

                   iv.   Pursuant to Title 18 of the United States Code,

                         Section 3161(h) (8) (A), the ends of justice served

                         by granting the continuance outweigh the best

                         interests of the public and the defendant in a

                         speedy trial;



              WHEREFORE, on this    —    day of January, 2013.

              tT IS ORDERED that trial in this matter is continued from

        January 15, 2013 to March 15, 2013

              IT IS FURTHER ORDERED that the period from the date of this

        order through March 15, 2013, inclusive, shall be excludable in

        computing time under the Speedy Trial Act of 1974, pursuant to

        Title 18, United States Code, Section 3161(h) (8);

              Nothing in this order shall preclude a finding that

        additional periods of time are excludable pursuant to the Speedy

        Trial Act of 1974.
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